
Lyons, President.
The court is of opinion, that the decree is to be reversed; and the following is to be the entry:
“ This day came the parties by their counsel, and the court having maturely considered the transcript of the record of the order aforesaid, and the arguments of counsel, (without deciding what ought to be the final decree in this cause), is of opinion, that the said order is erroneous in this, that the bill should have been dismissed as to all the debtors of James C. Neilson and William M’Creery, in the second answer of the defendants, Alexander and James Fulton, mentioned, the said debts having been assigned to the said Alexander and James Fulton, for collection only, and not liable to be attached for their debts : And, in not directing bond and security for fourteen thousand dollars, with condition to account faithfully for the money which they may receive from their debtors, so that fourteen thousand dollars, if so much be collected by them, shall be forthcoming to satisfy such decree as may be pronounced in this cause, before the other attachments were discharged. Therefore it is decreed and ordered, that the said order be reversed and annulled, and that the appellees pay to the appellants their costs by them expended in the prosecution of their appeal aforesaid here. And it is ordered, that the said cause be remanded to the said superior court of chancery, to be proceeded in according to the opinion herein before mentioned, and for other proceedings to be had therein.”
